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Former Attorneys for Plaintiff
RUBY L. ALLEN

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

RUBY L. ALLEN, ) NO. 4:21-cv-03856 KAW
)
Plaintiff, ) RELEASE AND NOTICE OF
) SATISFACTION OF LIEN CLAIM
V. )
)
THE REGENTS OF THE UNIVERSITY OF _ )
CALIFORNIA, PAUL LANDRY et al., )
)
Defendants. )
)
TO: ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that Attorney Pamela Y. Price hereby releases her claim of lien
against any settlement or judgment proceeds to be paid to Plaintiff RUBY L. ALLEN and/or her

attorneys, for attorneys’ fees and costs, said lien having been fully satisfied.

Fle I Lee

PAMELA Y. PRICE,/Former HE Plaintiff
RUBY L. ALLE

Dated: May 14, 2024

RELEASE AND NOTICE OF SATISFACTION OF LIEN (4:21-cv-03856 KAW)

